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         League, NFL Enterprises LLC, and the
   15    Individual NFL Clubs
   16
                                      UNITED STATES DISTRICT COURT
   17
                                   CENTRAL DISTRICT OF CALIFORNIA
   18

   19     IN RE: NATIONAL FOOTBALL                   Case No. 2:15-ml-02668−PSG (JEMx)
   20
          LEAGUE’S “SUNDAY TICKET”                   NFL DEFENDANTS’ NOTICE OF
          ANTITRUST LITIGATION                       MOTION AND MOTION TO
   21     ______________________________             QUASH PLAINTIFFS’ TRIAL
                                                     SUBPOENA
   22
          THIS DOCUMENT RELATES TO:                  Judge: Hon. Philip S. Gutierrez
   23                                                Date: May 17, 2024
          ALL ACTIONS
   24                                                Time: 10:00 a.m.
                                                     Courtroom: First Street Courthouse
   25
                                                                350 West 1st Street
   26                                                           Courtroom 6A
                                                                Los Angeles, CA 90012
   27

   28

         Case No. 2:15-ml-02668-PSG (SKx)            NFL Defendants’ Notice of Motion and Motion to Quash
                                                     Plaintiffs’ Trial Subpoena
Case 2:15-ml-02668-PSG-SK Document 1294 Filed 04/19/24 Page 2 of 3 Page ID #:50592



    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2               PLEASE TAKE NOTICE that on May 17, 2024, or as soon thereafter as
    3   counsel may be counsel may be heard, in the courtroom of the Honorable Philip S.
    4   Gutierrez, Chief United States District Judge, Courtroom 6A, United States
    5   Courthouse, 350 West 1st Street, Los Angeles, CA 90012, the NFL Defendants 1 will,
    6   and hereby do, move, pursuant to Rule 45 of the Federal Rules of Civil Procedure, to
    7   quash the trial subpoena served by Plaintiffs on Mr. Hans Schroeder.
    8               This Motion is based upon this notice; the concurrently filed memorandum of
    9   points and authorities, exhibits, and declarations submitted in connection therewith;
   10   the pleadings, documents, and records on file in this action; any argument that may
   11   be presented to the Court on this Motion; and such other matters as the Court deems
   12   appropriate.
   13               This Motion is made following the conference of counsel pursuant to L.R. 7-3
   14   which took place on April 12, 2024.
   15

   16   Dated: April 19, 2024                      Respectfully submitted,
   17                                              /s/ Brian L. Stekloff
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         The NFL Defendants consist of: Arizona Cardinals Football Club, LLC.; Atlanta
        Falcons Football Club, LLC; Baltimore Ravens Limited Partnership; Buffalo Bills,
   21   LLC; Panthers Football, LLC; The Chicago Bears Football Club, Inc.; Cincinnati
   22
        Bengals, Inc.; Cleveland Browns Football Company LLC; Dallas Cowboys Football
        Club, Ltd.; Denver Broncos Team, LLC; The Detroit Lions, Inc.; Green Bay Packers,
   23   Inc.; Houston NFL Holdings, L.P.; Indianapolis Colts, Inc.; Jacksonville Jaguars,
   24
        LLC.; Kansas City Chiefs Football Club, Inc.; Miami Dolphins, Ltd.; Minnesota
        Vikings Football, LLC; National Football League, Inc; NFL Enterprises LLC; New
   25   England Patriots LLC; New Orleans Louisiana Saints, LLC; New York Football
   26   Giants, Inc.; New York Jets LLC.; Raiders Football Club, LLC; Philadelphia Eagles,
        LLC; Pittsburgh Steelers LLC.; Chargers Football Company, LLC; Forty Niners
   27   Football Company LLC; Football Northwest LLC; The Los Angeles Rams, LLC;
   28   Buccaneers Team LLC; Tennessee Football, LLC.; and Pro-Football LLC.

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                                                          Plaintiffs’ Trial Subpoena
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                                               2
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